Case 3:20-cv-04688-RS   Document 472-3   Filed 04/03/25   Page 1 of 70




    EXHIBIT 2
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 2 of 70
                      ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                   UNITED STATES DISTRICT COURT
2                  NORTHERN DISTRICT OF CALIFORNIA
3                           SAN FRANCISCO
4
5      ______________________________
                                     )
6      ANIBAL RODRIGUEZ, et al.      )
       individually and on behalf of )
7      all others similarly situated,)
                                     )
8                Plaintiffs,         )
                                     )
9      vs.                           ) No. 3:20-CV-04688 RS
                                     )
10     GOOGLE LLC, et al.,           )
                                     )
11               Defendants.         )
                                     )
12     ______________________________)
13
14             ATTORNEYS' EYES ONLY - CONFIDENTIAL
15     VIDEOTAPED REMOTE DEPOSITION OF BRUCE SCHNEIER, Ph.D.
16                   Cambridge, Massachusetts
17                    Monday, July 10, 2023
18                           Volume I
19
20
21     Reported by:
       CATHERINE A. RYAN, RMR, CRR, B.S.
22     CSR No. 8239
23     Job No. 5980592
24
25     PAGES 1 - 314

                                                               Page 1

                               Veritext Legal Solutions
                       Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 3 of 70
                      ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      that you study user behavior related to many                11:28:13

2      different aspects of security and privacy.

3                  Do you see that?

4           A      I do.

5           Q      When you say that you study user behavior,      11:28:21

6      how do you do that?

7           A      Mostly by reading other people's studies

8      and doing synthesis.       I do participate in some

9      studies, but that is not my primary area.

10          Q      You said that you read other people's           11:28:37

11     studies.

12                 What types of studies do you read?

13          A      I think it's what said.     It's -- it's user

14     behavior and human factors related to aspects of

15     security and privacy.                                       11:28:56

16          Q      What methodology do those studies employ?

17                 MR. CROSBY:     Object to the form of the

18     question.

19                 THE WITNESS:     I don't know.

20     BY MS. AGNOLUCCI:                                           11:29:06

21          Q      You read and synthesize studies, but you

22     don't know what methodology they use?

23          A      I read and synthesize studies, but I don't

24     memorize what methodology they use.

25          Q      Can you think of any examples of                11:29:22

                                                                   Page 42

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 4 of 70
                      ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      methodologies that have been used in studies that         11:29:23

2      you've read and synthesized?

3           A    User -- watching user behavior, testing

4      users, maybe sending them emails and see if they

5      click on phishing links; studies where we watch           11:29:37

6      users interact with security systems and see what

7      they do; studies on how they interpret security

8      warning labels.

9                Those are just three examples.

10          Q    Those are examples of studies conducted by      11:29:58

11     others that you have read?

12          A    Yes, although I am, right now, engaging in

13     a study on how people are responding to phishing

14     links written by AI, whether they respond better or

15     worse than phishing links written by humans.              11:30:13

16               You don't want to know the answer.

17          Q    And in this study, are you surveying a

18     representative sample of users?

19          A    We're serving -- we're serving [sic]

20     Harvard -- Harvard undergraduates; so no.                 11:30:32

21          Q    How many people are involved in the study?

22          A    It's still --

23          Q    How many --

24          A    -- ongoing.

25          Q    -- subjects are being studied, rather?          11:30:42

                                                                 Page 43

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 5 of 70
                      ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           A     It's still ongoing.                              11:30:44

2                 It's in the hundreds.

3           Q     Have you engaged in any other quantitative

4      research of user behavior yourself?

5           A     No.                                              11:31:02

6           Q     Have you engaged, yourself, in any

7      qualitative research of user behavior?

8           A     Not that I can remember.

9           Q     Do you have any training in psychology?

10          A     Formal training, are you asking?                 11:31:36

11          Q     Yes.

12          A     I do not.

13          Q     Do you have any training in user behavior?

14          A     No formal training, no.

15          Q     Do you have any training in user interface       11:31:54

16     design?

17          A     I have no formal training in that either.

18          Q     Do you have any training in user

19     experience design?

20          A     I do not.                                        11:32:06

21          Q     Do you have any training in survey

22     science?

23          A     I do not.

24          Q     As part of your work, have you ever given

25     a talk at Google?                                           11:32:22

                                                                   Page 44

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 6 of 70
                      ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           A    Yes.                                              11:32:25

2                MS. AGNOLUCCI:      I'm going to try to see if

3      we can get this to work in the Zoom platform.

4                Argemira, can you please mark Tab 3a,

5      which is a video clip excerpt of a talk you gave            11:32:40

6      about your book, quote, "Click Here to Kill

7      Everyone" [sic].

8                THE VIDEOGRAPHER:       Also, Counsel, everyone

9      should have Exhibit Share access now.       I'm not sure

10     if you saw my chat, but ...                                 11:32:55

11               (Exhibit 5 was marked for identification

12               by the court reporter.)

13     BY MS. AGNOLUCCI:

14          Q    If you click on Exhibit 5, there's about a

15     20-minute -- 20-second clip that you can play.              11:33:13

16               Is the best way to do this for us to play

17     it in the screen share so everybody can see and hear

18     the same thing?

19          A    I certainly like that idea.

20               MS. AGNOLUCCI:      Okay.   Argemira, can you     11:33:33

21     do that, please?

22               MS. FLOREZ:     Yeah, one second.

23               MS. AGNOLUCCI:      I would start at roughly

24     minute 12:24, Argemira, 12:23.

25               MS. FLOREZ:     Sure.    The host disabled        11:33:53

                                                                   Page 45

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 7 of 70
                      ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      participant screen sharing; so unless I have access            11:33:55

2      to do that, I won't be able to share my screen.

3                   MS. AGNOLUCCI:     Okay.    Then let's --

4                   THE VIDEOGRAPHER:       It's -- it's --

5                   MS. AGNOLUCCI:     -- let Mr. Schneier review     11:34:05

6      the video.

7                   THE WITNESS:     All right.    I'm going to go

8      watch it right now.        Presumably you'll hear me

9      watching it, I think.

10                  THE VIDEOGRAPHER:       It's enabled now as       11:34:14

11     well.

12                  THE WITNESS:     All right.    Let's do that in

13     the group.     That's easier, I think.

14                  MS. FLOREZ:     Okay.    One second.

15                  (Video played.)                                   11:34:24

16                  MS. FLOREZ:     Is there any audio playing?

17                  THE WITNESS:     No, there's no audio.

18                  THE VIDEOGRAPHER:       So when you share it,

19     you have to enable audio.        It's a little box that

20     you check at the bottom.        When you pull it up, you       11:34:48

21     press Share, and when you select it --

22                  MS. FLOREZ:     Let me look.

23                  THE VIDEOGRAPHER:       You'll have to close

24     out of this.

25                  MS. AGNOLUCCI:     Let's go off the record.       11:35:02

                                                                      Page 46

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 8 of 70
                      ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                 THE WITNESS:     Yeah, those are also taught,    11:35:04

2      on Zoom learning, as horrible lessons.

3                 THE VIDEOGRAPHER:     Off the record.     The

4      time is 11:35.

5                 (Discussion Off the Record.)                     11:35:19

6                 THE VIDEOGRAPHER:     We're back on the

7      record.   The time is 11:36.

8                 MS. AGNOLUCCI:     We're going to play for

9      you a video clip excerpt, starting at minute 12:24,

10     from a talk you gave at Google about your book              11:36:57

11     "Click Here to Kill Everyone" [sic].

12                (Video played):

13                      Actually, so, you know, there's two

14                reasons why our phones and computers are

15                as secure as they are.     The first is that     11:37:10

16                there are security engineers at Apple, at

17                Microsoft, at Google that are designing

18                them as secure as they are in the first

19                place.    And those engineers can quickly

20                write and push down patches when                 11:37:22

21                vulnerabilities are discovered.       That's a

22                pretty good ecosystem.     We do that well.

23     BY MS. AGNOLUCCI:

24          Q     Mr. Schneier, you stated during the talk

25     we just watched that there are security engineers at        11:37:37

                                                                   Page 47

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 9 of 70
                      ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      Google designing phones and computers to be secure,          11:37:40

2      correct?

3           A     Yes.

4           Q     Sitting here today, is that something you

5      would continue to agree with?                                11:37:47

6           A     Yes.

7           Q     You also stated that one of the reasons

8      our phones and computers are as secure as they are

9      is that these security engineers can quickly write

10     and push down patches when there are                         11:38:01

11     vulnerabilities, correct?

12          A     Yes.

13          Q     Sitting here today, is that something you

14     continue to agree with?

15          A     Yes.                                              11:38:11

16          Q     Going back to your CV -- and we don't need

17     to look at it -- it includes a list of books and

18     academic publications that you authored.

19                Is that list complete?

20          A     I doubt it.     I'm always writing new            11:38:28

21     publications, and it's going to depend on the date.

22                The books -- well, I had a book come out

23     in February.      So it will depend which version you're

24     looking at.

25                And I think the papers is complete, but           11:38:42

                                                                    Page 48

                                    Veritext Legal Solutions
                            Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 10 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      there might be a paper that came out after that was         11:38:44

2      written.

3           Q     Do we have the most version -- the most

4      recent version of your CV?

5           A     You probably do, but I don't update it           11:38:54

6      every minute.   So, I mean, I generally update it

7      twice a year.   So you do, but it's possible there's

8      one or two things missing.

9                 MR. CROSBY:    I'll note that --

10     BY MS. AGNOLUCCI:                                           11:39:08

11          Q     You did not --

12                MR. CROSBY:    Sorry.   I'll note for the

13     record that, at least on the face of the document,

14     it says "Produced 6-29."

15                If you'd like, we can follow up off-line         11:39:17

16     to make sure that the version we produced 6-29 was,

17     in fact, current as of 6-29.

18                THE WITNESS:     It -- so if it's -- if it's

19     dated 6-29, it is current.      There have been no books

20     and no academic papers since then.                          11:39:32

21     BY MS. AGNOLUCCI:

22          Q     You did not write any publications

23     professing to be an expert in dark patterns,

24     correct?

25                MR. CROSBY:    Object to the form of the         11:39:45

                                                                   Page 49

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 11 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      question.                                                   11:39:45

2                  THE WITNESS:    Are you asking me if I say

3      in anything I've written I am an expert in dark

4      patterns?

5      BY MS. AGNOLUCCI:                                           11:39:52

6           Q      Correct.

7           A      I have -- no, I have never said those

8      words.

9           Q      Have you written any publications

10     exclusively about dark patterns?                            11:40:00

11                 MR. CROSBY:    Object to the form.

12                 THE WITNESS:    Exclusively, no.

13     BY MS. AGNOLUCCI:

14          Q      Do you believe that you're qualified to

15     determine what is and is not a dark pattern?                11:40:11

16          A      I do.

17          Q      Why?

18          A      Because it is an area I have studied, I

19     have written about, and I have taught.

20          Q      What do you mean when you say it's an area      11:40:29

21     you've studied?

22          A      I have read the literature on dark

23     patterns, and I have synthesized it in a way that

24     makes sense.

25          Q      Other than reading the literature on dark       11:40:44

                                                                   Page 50

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 12 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      patterns, have you done anything else to study dark            11:40:47

2      patterns?

3                     MR. CROSBY:    Object to the form of the

4      question.

5                     THE WITNESS:     I believe I've listened to     11:40:55

6      talks by the researchers, but I would include that

7      in studying the literature.

8      BY MS. AGNOLUCCI:

9              Q      Other than studying the literature on dark

10     patterns and listening to talks by experts, have you           11:41:04

11     done anything else to study dark patterns?

12             A      I've taught it, and I consider that sort

13     of part of the process.

14             Q      Anything else you've done to study dark

15     patterns other than what we just talked about?                 11:41:24

16             A      Not that I recall.

17                    MR. CROSBY:    Sorry.   Object to the form of

18     the question.

19                    MS. AGNOLUCCI:     We've been going for an

20     hour.       Would folks like to take a break?     Or we can    11:41:34

21     go for another 15 minutes.          Up to you.

22                    MR. CROSBY:    It's up to the witness.

23     We've taken a couple of breaks for technical issues

24     while we're going, and I don't -- we'd love to avoid

25     going too late in the day, since we got a least -- a           11:41:49

                                                                      Page 51

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 13 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      and actual depositions.                                     12:15:14

2                 I can't remember if there are anywhere I

3      drafted a report but it was never submitted; but if

4      I did, that would not be listed on -- in my CV, and

5      I don't remember.                                           12:15:29

6           Q     Do you consider all declarations to be

7      reports?

8           A     Yes.

9           Q     Did you rely on any of your previous

10     declarations or reports in drafting your report in          12:15:44

11     this matter?

12          A     What do you mean by "rely on"?

13                I -- do you -- I looked -- I used the

14     general information from the Brown report in this

15     report in places where it was basically the same            12:16:01

16     thing.

17          Q     In other words, there may be portions of

18     the report in this matter that are identical or very

19     similar to your report in the Brown matter?

20          A     Yes.                                             12:16:18

21          Q     And there are overlapping opinions in the

22     two matters?

23          A     Yes.

24          Q     Have any of your reports or testimony been

25     stricken or excluded by a Court?                            12:16:37

                                                                   Page 65

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 14 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           A       I'm often not told that.     Actually, very    12:16:42

2      often I'm not told that.      I will submit a report,

3      and then I never hear from attorneys again, and I

4      don't know what happens.      So I cannot answer that

5      with any degree of accuracy.                                12:16:55

6           Q       That you are aware of, have any of your

7      reports or testimony been stricken or excluded, in

8      whole or in part, by a Court?

9           A       Not that I'm aware of, no.

10          Q       Are you aware that the Court struck parts      12:17:13

11     of your opinion in the Brown matter?

12          A       Yes.

13          Q       Are there any others that you may have

14     forgotten about?

15          A       It's a very hard question to answer            12:17:30

16     because, by definition, I will not know if there are

17     any others I've forgotten about.

18          Q       As you sit here right now, you can't think

19     of any others?

20          A       I cannot.                                      12:17:43

21                  MS. AGNOLUCCI:   Let's take a look at the

22     order in the Brown case.

23                  Argemira, can you please mark that as

24     Exhibit 7.

25                  (Exhibit 7 was marked for identification       12:17:57

                                                                   Page 66

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 15 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                     by the court reporter.)                           12:17:57

2                     THE WITNESS:     It has not come through yet.

3      Wait.       Let me check.

4                     It has not come through yet.

5                     It has come through.      I have it.              12:18:44

6      BY MS. AGNOLUCCI:

7              Q      Okay.     Take a look at page 18.

8              A      I am on page 18.      "These opinions, which

9      rely on Schneier's," dot, dot, dot.

10             Q      And I mean page 18 of the pagination at           12:19:22

11     the bottom of the page.

12             A      This is -- that's where I am.

13             Q      Do you see where it says:       "While Schneier

14     is a security technologist, and can opine generally

15     about relevant privacy issues, he does not have                  12:19:34

16     specialized expertise in opining about the purported

17     understandings and expectations of consumers

18     specifically.          Nor can he merely impute his own

19     opinions to those of a reasonable consumer."

20                    Do you see that, Mr. Schneier?                    12:19:49

21             A      I do.

22             Q      And then on the next page, the second

23     paragraph, do you see where it says (as read):

24     "Accordingly, Google's motion to exclude the

25     consumer expectations opinions is granted"?                      12:20:00

                                                                        Page 67

                                        Veritext Legal Solutions
                                Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 16 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           A      Yes.                                            12:20:04

2           Q      Are you purporting to opine in this case

3      on how the Plaintiffs understood Google's

4      disclosures regarding Web & App Activity?

5           A      I don't know.     No.                           12:20:31

6           Q      "No," you are not providing an opinion

7      about the understandings and expectations of

8      consumers regarding the Web & App Activity toggle?

9                  MR. CROSBY:     Object to the form of the

10     question.                                                   12:20:52

11                 THE WITNESS:     I don't think I am, no.

12     BY MS. AGNOLUCCI:

13          Q      Are you providing an opinion about the

14     reasonable consumer's understanding of the

15     functionality of Web & App Activity?                        12:21:04

16          A      Definitely not.

17          Q      Are you providing any opinion about

18     consumer expectations relating to Web & App

19     Activity?

20          A      I am not.                                       12:21:22

21          Q      Same questions for Supplemental Web & App

22     Activity.

23                 Are you purporting to opine in this case

24     on how the Plaintiffs understood Google's

25     disclosures regarding Supplemental Web & App                12:21:35

                                                                   Page 68

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 17 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      Activity?                                                  12:21:35

2           A      I am not.

3           Q      Are you providing an opinion about the

4      understanding and expectations of consumers

5      regarding the Supplemental Web & App Activity              12:21:44

6      control?

7           A      I am not.

8           Q      Are you providing an opinion about the

9      reasonable consumer's understanding of the

10     functionality of Supplemental Web & App Activity?          12:21:55

11          A      I am not.

12          Q      Are you purporting to offer an opinion in

13     this case on whether any consumer suffered harm as a

14     result of Google's actions?

15          A      Are you asking about any particular            12:22:26

16     consumer?

17          Q      Any class member.

18          A      I talk about harms in general in my report

19     in many places, but nowhere do I associate a

20     particular harm with a particular consumer, no.            12:22:41

21          Q      Let's take a look now at paragraph -- I'm

22     sorry -- page 20 of the order granting the Daubert

23     motions in the Brown case, marked as Exhibit 7.

24          A      You said "page 20"?

25          Q      Yes.                                           12:23:13

                                                                  Page 69

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 18 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                Look at the part that says "Google's               12:23:15

2      Intent, Services, or Receipt of Data."

3                Do you see where it says:        "The Court has

4      considered the parties' arguments" --

5           A    Slow down.                                         12:23:26

6           Q    At the bottom of the page.

7           A    Yes, I see it.      I'm sorry.    Yes, I see it.

8           Q    -- "and agrees that some of Schneier's

9      opinions impermissibly opine on Google's intent or

10     state of mind.    For example, he opines" -- and then        12:23:34

11     she goes on to quote from your report.        "Similarly,

12     Schneier opines that 'Google counts on most people

13     to access the Internet.'" And she goes on to quote

14     from your report.

15          A    Yes.                                               12:23:50

16          Q    "Schneier also impermissibly opines that

17     'Google is motivated to ensure that any privacy

18     controls are difficult to understand.'"

19               Do you see all of that?

20          A    I do.                                              12:24:00

21          Q    And are you aware of the fact that the

22     Court granted the motion to exclude your testimony

23     about the intent or state of mind or motivation of

24     Google?

25          A    I read that here, yes.                             12:24:13

                                                                    Page 70

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 19 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q    Do you purport to opine in this case on            12:24:19

2      the intent or state of mind or motivation of Google?

3           A    I don't believe so, no.

4           Q    Going back to your report, who drafted it?

5           A    I did.                                             12:24:41

6           Q    Did anyone assist you in drafting it?

7           A    What do you mean by "assist"?

8           Q    What does it mean to you to assist?

9           A    To -- to write it for me.

10          Q    Did anyone write it for you?                       12:25:02

11          A    No.

12          Q    Did anyone draft parts of it?

13          A    No.

14          Q    Did anyone edit it?

15          A    Yes.                                               12:25:14

16          Q    Other than lawyers.

17          A    My assistant helped with editing.

18               Wait.     I might take that back.

19               No, I'm sure she -- she finds commas.        She

20     finds periods.                                               12:25:36

21               Yes.     Let's say yes.

22          Q    In your report, you list a series of

23     opinions, both about Google and not about Google.

24               Does this report contain the full scope of

25     your opinions in this matter?                                12:26:24

                                                                    Page 71

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 20 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      BY MS. AGNOLUCCI:                                           12:35:32

2           Q     Was the data tied to any individual user?

3                 MR. CROSBY:    Same objection.

4                 THE WITNESS:     Some of the data was, yes.

5      Google believes some of the data was, yes.        Yes.      12:35:41

6      BY MS. AGNOLUCCI:

7           Q     Which data?

8           A     That, I don't know.     Probably all of it.

9                 If you're going to tie one piece, you're

10     going to tie it all.                                        12:35:55

11          Q     The basis of your belief that the data was

12     tied to an individual user is what?

13          A     It's based on the representations of

14     Google, Google documentation, and all the documents

15     that I read in association with this case.                  12:36:14

16          Q     You did not do any research that involved

17     communicating with users of Web & App Activity to

18     develop your opinions in this case, correct?

19          A     I did not.

20          Q     You did not do any research that involved        12:36:44

21     communicating with users of Supplemental Web & App

22     Activity to develop your opinions in this case,

23     correct?

24          A     I did not, no.

25                Do you count reading the declarations of         12:36:55

                                                                   Page 79

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 21 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      opinions are in that section starting at page 52?         12:38:47

2           A    Yes, but there are some Google-specific

3      things in the general section.    So it's not as clean

4      as we'd like it to be.

5           Q    You opine in your report that Google's          12:39:02

6      disclosures to users concerning WAA and sWAA and

7      Google's disclosures to app developers constitute

8      dark patterns, correct?

9           A    I do.

10          Q    Can you tell me what specific disclosures       12:39:21

11     you believe constitute dark patterns?

12          A    I believe they are all in my report.

13          Q    Other than the disclosures referenced

14     specifically in your report, are there any other

15     disclosures that you are opining constituted dark         12:39:39

16     patterns for purposes of this case?

17          A    No.

18          Q    Define "dark patterns."

19          A    So I did that in my report; so let me find

20     that, because I think it's a good definition, and I       12:39:55

21     don't want to make one up.

22          Q    There's one at paragraph 161, page 44.

23          A    Yeah, that's where I was headed.

24               Yes, that -- I will stand by that.

25          Q    Okay.   So let's read it so that we are         12:40:13

                                                                 Page 81

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 22 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      sure.                                                        12:40:17

2                   "'Dark patterns' is an umbrella term for a

3      variety of subversive user-design tricks intended to

4      manipulate users into doing things they wouldn't

5      normally choose to do."                                      12:40:27

6                   Do you see that?

7              A    I do.

8              Q    Is that your definition of "dark

9      patterns"?

10             A    That's the definition I use in this             12:40:37

11     report -- yes, that's a definition I use in this

12     report.

13             Q    That's the definition you use for purposes

14     of your analysis of this case?

15             A    Let me step back.                               12:40:49

16                  That is one sentence, and that really

17     isn't a definition.      That's a -- that's an

18     introductory sentence.

19                  I think the whole section really defines

20     the term, because there's a lot of -- of types that          12:41:02

21     I -- that I go into in subsequent paragraphs.         I

22     would not stand on the one sentence as the

23     definition, nothing else.

24             Q    Are you saying that the rest of your

25     report provides examples that illustrate the                 12:41:19

                                                                    Page 82

                                    Veritext Legal Solutions
                            Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 23 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      sentence we just read?                                     12:41:24

2           A     I don't think I provide a lot of -- I

3      provide some examples.     Certainly the references

4      provide a lot of examples.      I believe I listed a few

5      examples in the section.      I'm seeing them now, but     12:41:39

6      there are many more in the references.

7           Q     I'm trying to understand if you were

8      asked, for purposes of your work in this case, to

9      say what is a dark pattern, what you would say.

10          A     I would point to the -- the paragraph in        12:41:58

11     the report.

12          Q     Which paragraph?

13          A     The one we were just talking about, which

14     is now blurry, 161.

15          Q     You believe that paragraph 161 contains         12:42:14

16     your definition of "dark patterns" for purposes of

17     your analysis in this case?

18          A     No.   I believe that all of the references

19     contain the definition and that 161 is a summary of

20     all the references.                                        12:42:33

21          Q     Are you able to articulate a definition of

22     "dark patterns"?

23          A     I think the definition in the report is --

24     is good.   So it's -- I mean, I would use this entire

25     section.   Certainly paragraph --                          12:42:53

                                                                  Page 83

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 24 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q       Is it --                                        12:42:56

2           A       -- 161 and -62, -63.     I think examples are

3      necessary.

4                   I mean, if I'm teaching this, you don't

5      just say one sentence and leave the room.        You spend   12:43:05

6      an entire class.        And the process of seeing them and

7      seeing the types and seeing examples is how we

8      define them.

9           Q       It sounds like you're not able to provide

10     a definition that's shorter than four paragraphs; is         12:43:22

11     that fair?

12                  MR. CROSBY:     Object to the form of the

13     question.

14                  THE WITNESS:     I am not able, right now, in

15     a deposition under oath, to provide a definition             12:43:32

16     that is under four paragraphs.        That feels like a

17     real piece of work and should be done properly.

18     BY MS. AGNOLUCCI:

19          Q       Is that definition anywhere in the report,

20     that you took several months to draft?                       12:43:45

21          A       I believe this section is the definition.

22          Q       And you are not able to point to a

23     definition shorter than this four-paragraph section

24     in your report?

25          A       I'm not -- I'm not sure where you got four      12:44:02

                                                                    Page 84

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 25 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      paragraphs, because I didn't say four paragraphs.               12:44:04

2                     No.

3              Q      Tell me where in your report the

4      definition of "dark patterns" is.

5                     MR. CROSBY:    Object to the form of the         12:44:16

6      question.       Asked and answered.

7                     THE WITNESS:    It's in section 6.3.

8      BY MS. AGNOLUCCI:

9              Q      All of the paragraphs in section 6.3 are

10     the definition of "dark patterns"?                              12:44:31

11             A      If you wish, I will go through and check

12     that.       This feels like a lot of work.      It is -- it

13     is ...

14                    I feel like I answered this already.

15     Wait.       Stop.    I answered this already.                   12:44:39

16             Q      I think I misunderstood your answer, then,

17     because I thought you had said that it was in

18     paragraphs 161, 162, 163, and 164; but when I

19     referred to four paragraphs, you seemed to disagree

20     with that.                                                      12:44:57

21                    So maybe --

22             A      Yeah, because I don't --

23             Q      -- you can help me understand.

24             A      I think this section is my definition --

25     includes my definition of "dark patterns."            I think   12:45:04

                                                                       Page 85

                                       Veritext Legal Solutions
                               Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 26 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      you learn it from 160 -- paragraph 161 and the              12:45:06

2      paragraphs following.      Certainly paragraphs 166,

3      167, 168 inform the definition; 169, 170 inform the

4      definition.    I think the examples of legislation,

5      the FTC report -- that's 172, 173 -- inform the             12:45:28

6      definition, as well as the examples in the

7      paragraphs following.

8                  So, no, I don't think -- it's not four

9      paragraphs.    I don't have a one-sentence definition

10     for you right now.     This is a complicated -- it's a      12:45:42

11     complicated topic, and it doesn't boil down as

12     simply as -- as that.

13                 And when I teach it, it is this

14     complicated.

15          Q      Your best answer is that the eight-page         12:46:03

16     section, 6.3, of your report is the definition of

17     "dark patterns"?

18                 MR. CROSBY:    Object to the form of the

19     question.

20                 THE WITNESS:    I think the best answer is      12:46:12

21     what I said.

22     BY MS. AGNOLUCCI:

23          Q      Do you disagree with my characterization

24     of what you said?

25                 MR. CROSBY:    Object to the form --            12:46:22

                                                                   Page 86

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 27 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                   THE WITNESS:     Say it again.                  12:46:23

2                   MR. CROSBY:    -- of the question.

3      BY MS. AGNOLUCCI:

4           Q       Your best answer is that the eight-page

5      section, 6.3, of your report is the definition of            12:46:28

6      "dark patterns"?

7                   MR. CROSBY:    Object to the form of the

8      question.     Misstates testimony.

9                   THE WITNESS:     No, I said that it includes.

10                  MS. AGNOLUCCI:     Let's -- let's hold back     12:46:41

11     on the speaking objections.

12          Q       It includes the definition of "dark

13     patterns."

14                  But you are not able to narrow that

15     eight-page section down any further, correct?                12:46:51

16          A       I believe I have been narrowing it, but

17     not enough for you.

18          Q       I didn't hear any narrowing in the answer

19     that you just gave me --

20          A       Okay.                                           12:47:05

21          Q       -- where you went through every paragraph

22     in the eight pages of the report.

23                  If I missed something in your answer, let

24     me know, but I read it as all eight pages are the

25     definition of "dark patterns."                               12:47:13

                                                                    Page 87

                                    Veritext Legal Solutions
                            Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 28 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                  MR. CROSBY:     Objection.   Badgering.           12:47:17

2      There's no question.

3                  THE WITNESS:     That's fair.     There is no

4      question.

5      BY MS. AGNOLUCCI:                                             12:47:24

6           Q      The question was, quote:        But you are not

7      able to narrow that eight-page section down any

8      further, correct?

9           A      The definition is what I put in my report.

10          Q      The sentence you originally read in               12:47:45

11     paragraph 161 reads:       "'Dark patterns' is an

12     umbrella term for a variety of subversive

13     user-design tricks intended to manipulate users into

14     doing things they wouldn't normally choose to do."

15                 Do you see that?                                  12:48:00

16          A      I do.

17          Q      Now, I understand that you think it's

18     important to illustrate the definition with the

19     other examples given in this section of your report.

20                 But do you believe that one sentence to be        12:48:17

21     a true part of the definition of "dark patterns"?

22                 MR. CROSBY:     Object --

23                 THE WITNESS:     I --

24                 MR. CROSBY:     -- to the form of the

25     question.                                                     12:48:22

                                                                     Page 88

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 29 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                  THE WITNESS:    I do.                           12:48:23

2      BY MS. AGNOLUCCI:

3           Q      Do you believe that one sentence to be

4      true with respect to your analysis of what Google

5      does that constitutes a dark pattern?                       12:48:32

6           A      I do.

7           Q      In other words, dark patterns require an

8      intent to manipulate users, correct?

9                  MR. CROSBY:    Object to the form of the

10     question.                                                   12:48:55

11                 THE WITNESS:    I like my words better.

12     BY MS. AGNOLUCCI:

13          Q      "Intended to manipulate users"?

14          A      Yes.

15          Q      Dark patterns are intended to manipulate        12:49:14

16     users, correct?

17          A      Yes.

18          Q      When I first asked you to define "dark

19     patterns," you read the first sentence of paragraph

20     161 and said, "That is the definition I use in my           12:49:27

21     report."

22                 Have you used other definitions of "dark

23     patterns" in other places?

24                 MR. CROSBY:    Object to the form of the

25     question.                                                   12:49:39

                                                                   Page 89

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 30 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                THE WITNESS:     I don't remember.                 12:49:41

2      BY MS. AGNOLUCCI:

3           Q    Would you agree that there is no one

4      definition of a "dark pattern"?

5           A    I agree that there's a consensus of                12:49:56

6      opinion on what dark patterns are.       There's broad

7      agreement on what constitutes a dark pattern.        There

8      are overlapping taxonomies of dark patterns, and

9      there are edge cases.

10          Q    What is the consensus of opinion on what           12:50:19

11     dark patterns are?

12          A    Oh, wow.     That is something I would have

13     to research.

14          Q    You haven't researched that?

15          A    I haven't memorized that.                          12:50:31

16          Q    Can you say anything about what the

17     consensus of opinion on what dark patterns are is?

18          A    I tried to put that in my report.

19          Q    Is that in section 6.3, those eight pages

20     we were just looking at?                                     12:50:49

21          A    Yes.

22          Q    Do you believe that all of those eight

23     pages reflect the consensus of opinion on what dark

24     patterns are?

25          A    That, I don't know.      I'm listing               12:51:01

                                                                    Page 90

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 31 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      opinion -- I'm listing definitions and taxonomies of          12:51:04

2      different researchers, of different government

3      agencies, of different governments.          So I think it

4      represents the -- the cluster of opinions of what

5      dark patterns are.                                            12:51:18

6           Q      You said there's a consensus of opinion.

7                  What's the difference between a consensus

8      and a cluster?

9                  MR. CROSBY:     Object to the form of the

10     question.                                                     12:51:30

11                 THE WITNESS:     I don't know.     I think I'm

12     using one to mean the things we all agree on and the

13     other cluster to mean the different ways we're

14     describing it.

15                 If you look at the taxonomies, they --            12:51:46

16     they overlap.       They contain the same stuff, but

17     they're defined a bit differently.

18     BY MS. AGNOLUCCI:

19          Q      Okay.     So where are the things we all

20     agree on in your report?                                      12:51:58

21          A      I think that first sentence of paragraph

22     161 and other things as well.

23                 I would have to do more work to -- to map

24     the different researchers' and government bodies'

25     way of defining them on top of each other.                    12:52:34

                                                                     Page 91

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 32 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q      You believe the first sentence of               12:52:38

2      paragraph 161 includes the consensus opinion of what

3      dark patterns are?

4                  MR. CROSBY:    Object to the form of the

5      question.                                                   12:52:48

6                  THE WITNESS:    No.   The other way around.

7      I believe the consensus opinion includes the

8      sentence.

9      BY MS. AGNOLUCCI:

10          Q      You say, "There's broad agreement on what       12:53:02

11     constitutes a dark pattern."

12                 Is there broad agreement that the first

13     sentence of 161 is what constitutes a dark pattern?

14          A      I would say yes.

15          Q      You refer in your report to several             12:53:29

16     definitions of "dark patterns," correct?

17          A      Yes.

18          Q      You agree that there are multiple

19     definitions of "dark patterns"?

20          A      Yes.                                            12:53:44

21          Q      Do you believe that whether something is

22     or is not a dark pattern is context specific?

23          A      What do you mean by that?

24          Q      Do you believe that whether something is

25     or is not a dark pattern depends on context?                12:54:11

                                                                   Page 92

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 33 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                  MR. CROSBY:    Object to --                     12:54:19

2                  THE WITNESS:    I'll try again too.

3                  What do you mean by "context"?

4      BY MS. AGNOLUCCI:

5           Q      What does "context" mean to you?                12:54:25

6                  MR. CROSBY:    Object to the form of the

7      question.

8                  THE WITNESS:    The world it's embedded in.

9      That's a really general definition.       So I want to

10     know what you mean by "context."                            12:54:34

11     BY MS. AGNOLUCCI:

12          Q      Do you believe that whether something is

13     or is not a dark pattern can depend on the user

14     interacting with that experience?

15          A      It's actually a hard question to answer         12:55:06

16     because "can depend" means there exists one user on

17     the planet for whom or one exception.       So I hesitate

18     to make the generality.

19                 But, in general -- there might be

20     exceptions -- no.                                           12:55:23

21          Q      In other words, in general, something is

22     or is not a dark pattern regardless of who's

23     interacting with it?

24                 MR. CROSBY:    Object to the form of the

25     question.                                                   12:55:37

                                                                   Page 93

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 34 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                  THE WITNESS:     In general -- in general --     12:55:38

2      and there might be exceptions -- no.

3                  MS. AGNOLUCCI:     Can you queue up Tab 7,

4      Argemira?

5                  And let's take a look at Exhibit 9.              12:55:59

6                  (Exhibit 9 was marked for identification

7                  by the court reporter.)

8                  THE WITNESS:     All right.   It arrived.

9      BY MS. AGNOLUCCI:

10          Q      Did you write a book called "A Hacker's          12:56:34

11     Mind"?

12          A      I did.

13          Q      Does Exhibit 9 appear to be an excerpt

14     from your book?

15          A      It appears to be.     I have a copy of the       12:56:48

16     book in eyesight, if we need to confirm it.

17          Q      Do you see the language highlighted on the

18     right?

19          A      I do.

20          Q      "'Dark patterns' is a term given to              12:57:00

21     subversive user-design tricks that co-opt common

22     designs to nudge users towards certain ends."

23          A      I do.

24          Q      In this definition, you say that a user

25     design might be a dark pattern if it nudges a user           12:57:14

                                                                    Page 94

                                    Veritext Legal Solutions
                            Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 35 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                  And I was asking:     Anything else?            13:06:17

2              A   I want to say the methodology of

3      generalization, because I'm not sure what you're

4      asking.

5              Q   Let's take a look at Exhibit 10, which is       13:06:29

6      already loaded up in your Exhibit Share.

7              A   Thank you for the preloading.

8                  (Exhibit 10 was marked for

9                  identification by the court reporter.)

10     BY MS. AGNOLUCCI:                                           13:06:38

11             Q   It's a New York Times article by Kashmir

12     Hill.

13                 You're welcome.     We're trying to make this

14     efficient for everybody.

15             A   I appreciate your hard work.                    13:06:46

16                 Exhibit 10 --

17             Q   Scroll to page --

18             A   -- tab 8?

19             Q   Scroll to page 3.

20             A   Okay.                                           13:07:07

21             Q   This is an article by Kashmir Hill about

22     trying to live without the tech giants.

23                 Do you see on page 3, where she says

24     they're all -- "There are alternatives for products

25     and services offered by the tech giants"?                   13:07:18

                                                                   Page 102

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 36 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           A       Yes.                                           13:07:21

2           Q       Do you agree with that statement?

3           A       Yes.

4           Q       Going back to your report on page 4,

5      paragraph three --                                          13:07:33

6           A       Yes.

7           Q       -- you write that:   "Google fails to

8      adequately disclose or provide notice of its data

9      collection practices or to provide users with

10     effective privacy controls."                                13:07:53

11                  Do you see that?

12          A       Yes.

13          Q       Is that opinion about the WAA and sWAA

14     controls?

15          A       Yes.                                           13:08:12

16          Q       Is it about any other controls?

17          A       It might be true about other controls, but

18     it is written here about the controls at issue in

19     this case.

20          Q       In other words, for purposes of this case,     13:08:23

21     you are offering an opinion about the WAA and sWAA

22     controls?

23          A       Yes.

24                  And there's an extra indent in the

25     paragraph.     God knows why.                               13:08:36

                                                                   Page 103

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 37 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q    About halfway through the paragraph, you          13:08:44

2      say (as read):     "The Google privacy controls

3      addressed in this lawsuit, WAA and sWAA, are merely

4      an illusion."

5                Do you see that?                                  13:08:51

6           A    I do.

7           Q    Is that opinion limited to WAA and sWAA

8      for purposes of this case?

9           A    For purposes of this case, yes.

10               Google might have many other --                   13:09:06

11          Q    Why --

12          A    -- reasons.

13          Q    What is the illusion created by WAA?

14          A    So I believe this is something I wrote

15     about extensively; so let me find it.                       13:09:23

16               So I write about this in section 10.1,

17     where I talk about how Google presents WAA and sWAA

18     as ways for users to control their privacy and that

19     contain a switch to -- to turn the controls off, and

20     then I write about how Google continues to collect          13:10:08

21     data on users even when they switch the tracking

22     toggle to off.

23          Q    And then in the same paragraph on page 4,

24     paragraph three, you say that Google uses dark

25     patterns, subversive user interface designs that            13:10:35

                                                                   Page 104

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 38 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      manipulate users into making decisions that serve          13:10:39

2      Google's purposes rather than their own, to provide

3      users and app developers with a false sense of

4      security.

5                  Do you see that?                               13:10:50

6           A      Yes, I found it.

7           Q      What methodology did you use to come to

8      that conclusion?

9           A      I looked at the Google controls with

10     respect to the definitions of "dark patterns" that         13:11:14

11     are discussed in section whatever it is -- section

12     6.3 and as outlined in the various sections of --

13     various subsections of section 11, came to the

14     conclusion.    It's the methodologies analysis.

15          Q      It's the methodology of analysis?              13:11:55

16          A      Eh, maybe that's not right.

17                 I don't know.     I'd love to see a list of

18     methodologies, if we're going to talk about

19     methodologies, so I can see -- it's not a way I

20     normally think of things.                                  13:12:11

21          Q      You understand that in order to be

22     qualified as an expert in this case, you have to

23     apply some methodology or scientific process,

24     correct?

25                 MR. CROSBY:     Object to the form of the      13:12:27

                                                                  Page 105

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 39 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      question.                                                     13:12:29

2                     THE WITNESS:    I've -- I've never heard

3      that explicitly.

4      BY MS. AGNOLUCCI:

5              Q      Did you apply any methodology to reach the     13:12:42

6      conclusions that you reached in this case?

7                     MR. CROSBY:    Object to the form of the

8      question.

9                     THE WITNESS:    Again, I do not know a list

10     of methodologies of which to pick one.                        13:12:51

11                    I -- if you look at section 11, I analyzed

12     Google's screens and their disclosures and their

13     user interfaces, in light of what I know about dark

14     patterns, as referenced in that other section, and

15     came to the conclusions I did.                                13:13:18

16     BY MS. AGNOLUCCI:

17             Q      Did you apply any other methodology, other

18     than what you just told me about, to reach the

19     conclusions you reached in this case?

20                    MR. CROSBY:    Object to the form of the       13:13:31

21     question.

22                    THE WITNESS:    So other people have looked

23     at various things Google has done in light of dark

24     patterns.       I know I referenced them somewhere in

25     here.       I certainly read those, and those probably        13:13:52

                                                                     Page 106

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 40 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      did inform my analysis, yes.                                13:13:57

2      BY MS. AGNOLUCCI:

3           Q     Anything else?

4           A     Not that I can think of right now.

5           Q     Earlier, we discussed -- and I believe you       13:14:30

6      agreed with -- the proposition that there are

7      many -- strike that.

8                 Earlier, we discussed -- and I believe you

9      agreed with -- the proposition that there are

10     different definitions of "dark patterns" out there,         13:14:46

11     correct?

12          A     Yes.

13          Q     And in paragraph 161 of your report, you

14     read a definition by Harry Brignull, who you say

15     coined the term, correct?                                   13:15:00

16          A     Yes.

17          Q     Now, taking a look at paragraph 166 of

18     your report, you cite a definition by Professor

19     Colin Gray, who defines "dark patterns" as:

20     "Instances where designers use their knowledge of           13:15:16

21     human behavior, (e.g., psychology) and the desires

22     of end users to implement deceptive functionality

23     that is not in the user's best interests."

24                Do you see that?

25          A     I do.                                            13:15:30

                                                                   Page 107

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 41 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1              Q      Is that different than Mr. Brignull's           13:15:35

2      definition?

3              A      Where do you see Brignull's definition?

4              Q      161.

5              A      I don't think I see Brignull's definition       13:16:03

6      here.       I mean, I don't see a quote by Brignull.

7                     My guess is they're substance --

8      substantively the same, but there might be

9      differences around the edges.

10                    But I didn't quote Brignull, looking at         13:16:21

11     these pages.

12             Q      I believe paragraph 161 contains multiple

13     quotations by Brignull and cites to Brignull.

14             A      It does, but that first sentence is a

15     sentence I wrote.        It's not in quotes.    So I           13:16:36

16     hesitate to ascribe it exactly to -- to Brignull,

17     because if it was his -- his words, I would have

18     quoted it.       So we would have to pull the records.

19             Q      Going back to page 46 and to the bolded

20     list we were looking at under Colin Gray's                     13:16:54

21     definition, you see a list of behaviors that

22     purportedly constitute dark patterns, correct?

23             A      I do.

24             Q      Those behaviors include nagging,

25     obstruction, sneaking, interface interference, and             13:17:16

                                                                      Page 108

                                      Veritext Legal Solutions
                              Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 42 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      forced action, correct?                                       13:17:19

2           A      Yes.

3           Q      Do you agree that those are all categories

4      of dark patterns?

5           A      Yes.                                              13:17:27

6           Q      Which one of these categories do you

7      contend the WAA and sWAA settings fit into?

8           A      So I believe I said all of that in the

9      relevant sections.

10                 Do you want me to find them all and read          13:17:50

11     them to you?

12          Q      Let's take a look at the relevant

13     sections.    Yes.

14          A      I'm on page 88.

15          Q      Okay.                                             13:18:14

16          A      So -- I'm sorry.      Do you want me to find

17     and read the sentences where I name dark patterns?

18          Q      I'm asking you which of the categories

19     from page 46 WAA and sWAA fit into.          So I want you

20     to answer me.       And if you need to look at what you       13:18:37

21     wrote to come to that answer, that's fine.

22          A      Okay.     So give me a second.

23                 All right.     So in paragraph 314, I say

24     that Googles's WAA Help Page exemplifies those dark

25     patterns, which are the ones I reference in                   13:19:06

                                                                     Page 109

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 43 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      paragraph 311, which is sneaking.                              13:19:08

2                  Section 11.2, they -- the WAA -- the WAA

3      and sWAA toggles themselves, I include under

4      sneaking.

5                  Section 11.3, Google statements about              13:19:47

6      privacy and user control exemplify, in Gray's

7      taxonomy, interface interference.

8                  Section 11 --

9           Q      Is that --

10          A      I'm sorry?                                         13:20:10

11          Q      -- with respect to users or developers for

12     interface interference?

13          A      In section 11.3, it is about -- section

14     11-point --

15          Q      I didn't hear your answer.                         13:20:29

16          A      Really?     That's -- in section --

17                 MS. AGNOLUCCI:      Nor did the court

18     reporter.

19                 THE REPORTER:     Please repeat.

20                 THE WITNESS:     That's not good.     All right.   13:20:38

21     That's on me.

22                 Section 11.3, I'm referring to users.

23                 In section 11.4, I'm talking about

24     Google's WAA controls for location privacy, and I

25     write of that being an example of hidden                       13:20:53

                                                                      Page 110

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 44 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      information, which is a subsection of interface               13:20:58

2      interference.       So it's interface interference in

3      that previous paragraph.

4                  Section 11.5, I talk about Google's WAA

5      and sWAA consent bump and put that in the category            13:21:11

6      of nagging.

7                  Section 11.6 -- and I think there's a way

8      you thought about for developers, is where I look at

9      Google's disclosure to app developers.         And there, I

10     also contend that it is an example of sneaking.               13:21:32

11                 And that's it.

12             Q   Okay.     So you --

13             A   And then --

14             Q   -- told me about nagging.

15             A   I'm sorry.     You go.                            13:21:46

16             Q   Sorry.     Were you going to say something

17     else?

18             A   Yeah, I'm just saying that in section

19     11.7, I -- I just talk about Google employees saying

20     much of the same things.                                      13:21:58

21                 All right.     I'm sorry.   Go.

22             Q   So you contend that the WAA and sWAA

23     toggles/disclosures can constitute examples of

24     nagging, sneaking, and interface interference?

25                 MR. CROSBY:     Object to the form of the         13:22:20

                                                                     Page 111

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 45 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      question.                                                     13:22:21

2                   THE WITNESS:    Yes.

3      BY MS. AGNOLUCCI:

4           Q       If you look at paragraph 167, it refers to

5      the 2017 book "White Hat" [sic].                              13:22:36

6                   That book has 12 different dark pattern

7      examples:     Bait and switch, disguised ads, forced

8      continuity, forced disclosure, friend spam,

9      misdirection, road block, roach motel, door slam,

10     trick questions, click bait, and hidden costs.                13:22:51

11                  Do you see that?

12          A       I do.

13          Q       You say:    "These can be mapped to Gray's

14     taxonomy."

15                  What does that mean?                             13:23:03

16          A       That means -- well, so --

17                  Okay.    First thing:   The book is called

18     "White Hat UX."       Let's get the book title correct in

19     the deposition.

20                  That if you look at Gray's taxonomy, he          13:23:13

21     has five major categories and then many

22     subcategories.       So if you look at the -- the diagram

23     that is in the page -- paragraph 166, you'll see

24     includes, so all those including.

25                  And you can -- and I didn't do it here,          13:23:30

                                                                     Page 112

                                     Veritext Legal Solutions
                             Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 46 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      but I did it just -- I did it enough to know that           13:23:33

2      it's true.     I didn't write it out -- that you can

3      map these 12 different patterns into these five

4      buckets, given Gray's subcategories.

5           Q       In paragraph 168, you refer to the EU Data     13:23:55

6      Protection Board's taxonomy, and you state that that

7      one has six patterns: overloading, skipping,

8      stirring, hindering, fickle, and left in the dark,

9      correct?

10          A       Yes.                                           13:24:09

11                  MS. AGNOLUCCI:     Let's take a look at

12     Exhibit 11, which is already in your folder.

13                  (Exhibit 11 was marked for

14                  identification by the court reporter.)

15     BY MS. AGNOLUCCI:                                           13:24:27

16          Q       It's a document entitled "EU Data

17     Protection Board" [sic].

18                  Is that the document that contains the

19     taxonomy you are referencing in your report?

20          A       I'm sorry.    This is Tab 8?     No.           13:24:40

21          Q       Exhibit 11.

22          A       Exhibit 11.    Okay.   Just --

23          Q       Tab 9 --

24          A       It just arrived.

25          Q       -- your --                                     13:24:46

                                                                   Page 113

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 47 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1              A   It just arrived.                                   13:24:46

2                  I have to refresh.    I keep forgetting

3      that.

4                  And you're asking me if that is the

5      reference I used.                                              13:24:55

6                  All EU documents look alike.     So let's

7      check.

8                  Yes, that looks correct.     It's the right

9      date.

10             Q   Take a look at the --                              13:25:19

11             A   It's the right version number.     Yes.

12             Q   Take a look at the "Executive Summary."

13     It says:    "These Guidelines offer practical

14     recommendations to designers and users of social

15     media platforms on how to assess and avoid so-called           13:25:33

16     'dark patterns' in social media interfaces that

17     infringe on GDPR requirements."

18                 Do you see that?

19             A   I do not, but I just got here.     So it's

20     on -- it's on the first page?                                  13:25:47

21                 All right.   So I see the first paragraph

22     that I see the --

23             Q   First paragraph under "Executive Summary."

24             A   Under "Executive Summary."     Hang on.

25                 Oh, yeah, it's the first sentence.        Yes, I   13:26:02

                                                                      Page 114

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 48 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      see it.     Yes.     I do.                                     13:26:04

2           Q       Do you contend that Google's WAA and sWAA

3      disclosures constitute a social media platform?

4           A       No.

5           Q       Do they constitute social media                   13:26:32

6      interfaces?

7           A       They can.

8           Q       How?

9           A       Well, if they're used by social media

10     sites, then they are part of the interface.                    13:26:45

11          Q       Any other way?

12          A       Not that I can think of right now.

13                  MR. CROSBY:     So I think we let you know

14     that we have a hard stop for a lunch break at 10:30

15     Pacific, 1:30 Eastern.                                         13:27:13

16                  MS. AGNOLUCCI:      Let's go off the record.

17                  THE VIDEOGRAPHER:        This marks the end of

18     Media No. 2.        Off the record.     The time is 1:27.

19                  (Lunch Recess.)

20                  THE VIDEOGRAPHER:        This marks the           14:36:19

21     beginning of Media No. 3 in the deposition of Bruce

22     Schneier.     We are back on the record.        The time is

23     2:36 Eastern time.

24     BY MS. AGNOLUCCI:

25          Q       Before the break, we were talking about           14:36:36

                                                                      Page 115

                                      Veritext Legal Solutions
                              Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 49 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      various definitions of "dark patterns" by Gray, the         14:36:40

2      FTC, and the EU.

3                  Do you remember that, Mr. Schneier?

4           A      I do.

5           Q      Do you contend that all of the behaviors        14:36:51

6      described by Gray, the FTC, and the EU are dark

7      patterns?

8           A      Yes.

9           Q      Would you agree that taking their

10     definitions of "sneaking," that those definitions           14:37:09

11     are not identical?

12          A      I give those definitions in paragraphs

13     311, 312, and 313, and they are not identical.

14          Q      The first is Colin Gray's definition.      He

15     describes "sneaking" as often occurring in order to         14:37:53

16     make the user perform an action they may object to

17     if they had knowledge of it, correct?

18          A      Yes.

19          Q      And then the second is the FTC's

20     definition, which considers practices having to do          14:38:09

21     with consumer shopping experiences, correct?

22          A      I write that it includes that; so I think

23     that's a better verb than "considers."

24          Q      How would you characterize the EU's -- the

25     FTC's definition of "sneaking"?                             14:38:27

                                                                   Page 116

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 50 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           A      It includes tricking a shopper into buying     14:38:29

2      unwanted items by using a pre-checked box and hiding

3      material information or significant product

4      limitations from people.

5           Q      Does it include anything else?                 14:38:43

6           A      Almost certainly.   Those are not full

7      sentences I'm quoting.

8           Q      Do you know what else the FTC's category

9      includes?

10          A      If you're asking me if I memorized their       14:38:57

11     definition, I did not.

12          Q      Do you know whether the FTC's definition

13     includes practices that don't have to do with

14     consumer shopping?

15          A      I don't.                                       14:39:11

16          Q      The third definition of "sneaking" is the

17     EU's category of left in the dark, which refers

18     specifically to hiding information or data

19     protection control tools and, which we just

20     discussed, applies in the context of social media          14:39:31

21     platforms, correct?

22          A      We discussed social media platforms, but I

23     don't remember discussing the EU in particular, that

24     their definition relies on social media platforms.

25     So remind me of that.                                      14:39:47

                                                                  Page 117

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 51 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q    We looked at the exhibit from the EU that        14:39:53

2      included the EU's definition.     It's Exhibit 11.

3           A    Right.    It's on my screen.

4           Q    And in the appendix -- in the executive

5      summary, it says (as read):     "These Guidelines offer    14:40:05

6      practical recommendations for designers and users of

7      social media platforms to assess 'dark patterns' in

8      social media interfaces."

9           A    Yes.

10          Q    Do you remember that?                            14:40:20

11          A    I see it right now.

12          Q    So my question to you was simply that the

13     third definition of "sneaking" is the EU's category

14     of left in the dark, which refers to hiding

15     information or data protection control tools and           14:40:36

16     which applies in the context of social media

17     platforms, correct?

18          A    I think it applies in other contexts as

19     well, but it does apply in that context, yes.

20          Q    Where does the EU say that it applies in         14:40:49

21     other contexts?

22          A    I would have to research that.

23          Q    You can't point to anything the EU said

24     that contradicted --

25          A    I --                                             14:41:02

                                                                  Page 118

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 52 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q     -- the executive summary, which says how       14:41:03

2      to avoid dark patterns in social media interfaces?

3           A     At this moment, I don't have access to any

4      other EU documents or writings on dark patterns.      I

5      have not memorized them.    No, I cannot.   That is       14:41:16

6      something that can be researched.

7           Q     Based on your knowledge and the materials

8      we've just looked at, would you agree that the

9      contexts for sneaking are different as between

10     Mr. Gray, which talks generally about performing an       14:41:34

11     action, the FTC, which provides as an example

12     consumer shopping, and the EU, which talks about

13     social media platforms?

14          A     I -- I don't have an opinion on the

15     context.                                                  14:41:52

16                Certainly the examples are different,

17     which is why I included all of them.

18          Q     Which definition of "sneaking" are you

19     applying in your analysis in this case?

20          A     I think they all apply in this case.           14:42:05

21          Q     You think the FTC's definition of

22     "sneaking," which talks about consumer practices and

23     shopping experiences, applies in this case?

24          A     The F- -- the FTC's definition, which

25     includes an example of consumer practices in what         14:42:27

                                                                 Page 119

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 53 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      you said, applies in this case, yes.                        14:42:31

2           Q       You mentioned that you weren't sure

3      whether the FTC had any nonconsumer shopping

4      examples.

5                   If, upon reviewing the FTC documentation       14:42:42

6      you cite, you discover that there are no examples

7      outside of the consumer-shopping context, does that

8      change your opinion that the FTC's definition of

9      "sneaking" applies in this case?

10          A       I don't know.   I would have to actually do    14:42:58

11     that work.     I don't want to hypothesize to that

12     degree.

13          Q       But you haven't done that work?

14          A       I haven't -- I haven't -- at this point, I

15     do not memorize an answer to your question, no.             14:43:10

16          Q       And you can't recall having done that

17     analysis for purposes of this report in this case?

18          A       For purposes of this report, I believe the

19     FTC's definition applies.

20          Q       And you can't recall having done the           14:43:27

21     analysis I just asked you about for the purposes of

22     your report in this case?

23          A       Go back.

24                  What is -- what is the analysis you

25     claim -- what is the analysis you think I did or            14:43:37

                                                                   Page 120

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 54 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      didn't do?                                                  14:43:41

2              Q    The definition that the FTC uses of

3      "sneaking," that you cite in your report, only

4      contains examples related to consumer shopping

5      online.                                                     14:43:56

6                   I asked you whether you are aware of the

7      FTC applying that definition outside of the

8      consumer-shopping context, and you said you didn't

9      know.

10                  What I'm asking you is:    If, when you go     14:44:09

11     look at the materials you cited from the FTC, you

12     discover that, in fact, there are no examples

13     outside of the context of consumer online shopping,

14     would you still contend that the FTC's definition

15     applies to your analysis in this case?                      14:44:29

16             A    I don't know.   It depends on what I would

17     have read.

18             Q    But I'm talking about an absence of

19     information.

20                  So you would have -- you wouldn't have         14:44:43

21     seen anything?

22             A    But that's not true.   I wouldn't have seen

23     hundreds of blank pages.      I would have seen hundreds

24     of blank pages with words in them, and those words

25     would inform my opinion.                                    14:44:53

                                                                   Page 121

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 55 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q     Okay.    So your opinion is that it is           14:44:56

2      possible that the FTC's definition of "dark

3      patterns" would apply to your analysis in this case

4      even if the FTC never discussed examples outside the

5      context of consumer shopping?                               14:45:13

6           A     Ever in that document discussed examples

7      outside.   Yes.

8           Q     Let's look back at "A Hacker's Mind."

9                 So in your report, on page 6, paragraph

10     14, you state that your book, "A Hacker's Mind,"            14:45:42

11     discusses dark patterns.

12                And on -- let's look at Tab 10 -- look at

13     Exhibit 12, Tab 10.

14          A     Not here yet.     All right.   I have to go

15     back and refresh.     We now know that.                     14:46:08

16                (Exhibit 12 was marked for

17                identification by the court reporter.)

18                THE WITNESS:    Scroll down.    Exhibit 12,

19     Tab 10.

20                Yes, I read it.                                  14:46:31

21     BY MS. AGNOLUCCI:

22          Q     Is -- is Exhibit 12 another excerpt of

23     your book, "A Hacker's Mind"?

24          A     It looks like it.     I have the book there,

25     if you want to confirm it.                                  14:46:40

                                                                   Page 122

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 56 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q      In the highlighted section, you see where        14:46:43

2      it says (as read):      "In 2019, Senators Warner and

3      Fischer introduced legislation banning dark

4      patterns.    It didn't pass.     But if a future version

5      does, the sponsors had better get their definition           14:46:54

6      right, because that definition itself will be

7      subject to all sorts of hacks, as programmers and

8      apps that use dark patterns to hack us try to get

9      around the rules."

10                 Did you write that?                              14:47:08

11          A      I did.

12          Q      You write that the sponsors better get

13     their definition right.

14                 What did you mean by that?

15          A      That, in this case, they need a legal            14:47:16

16     definition, very precise, because what is in and out

17     matters a lot in terms of a regulation; and that, in

18     the future, when someone reads what the law is, they

19     will look for loopholes.       They will look for ways to

20     do the same thing while technically following the            14:47:38

21     letters of the regulation.

22                 It's a very precise statement about law

23     and loopholes, which I call "hacking," which is a

24     theme of the book.

25          Q      What's the definition -- what's the --           14:47:56

                                                                    Page 123

                                    Veritext Legal Solutions
                            Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 57 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      strike that.                                               14:47:59

2                What's the difference between your

3      eight-page definition of "dark patterns" and a legal

4      definition?

5           A    Legal definition is proscriptive.      It will   14:48:10

6      list things that you can't do or maybe things you

7      can do, but primarily it's things you can't do, and

8      that definition will be used by prosecutors in

9      courts to determine if someone who is being charged

10     with -- with breaking the rule did or did not.             14:48:37

11               So there's a precision that's necessary in

12     rule writing that's just very different than any

13     other type of writing.    And, again, that is really a

14     theme of the book.

15          Q    Why is that precision important?                 14:48:58

16          A    Because people will read the rule as

17     written and then do their best to get around it,

18     because that's what people do.

19          Q    Do you think your eight-page definition of

20     "dark patterns" is sufficiently precise?                   14:49:14

21               THE WITNESS:    Ian, we're not hearing you.

22     You're on mute.

23               MR. CROSBY:    Sorry.

24               Object to the form of the question.

25               THE WITNESS:    It's probably true for the       14:49:28

                                                                  Page 124

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 58 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      entire time.                                                14:49:29

2                  No, I don't think my -- what I wrote in my

3      document is suitable for a -- a law.

4      BY MS. AGNOLUCCI:

5           Q      But you think it's suitable to determine        14:49:48

6      whether or not a company's actions constitute a dark

7      pattern in the context of a lawsuit?

8           A      Yeah, I don't think I'm drawing

9      conclusions about that -- I mean legal conclusions.

10     I am stating what I think is true based on my               14:50:00

11     expertise, but I feel like what I wrote is going to

12     be given to a Court that will make the -- that

13     decision.

14                 And I was definitely not writing a rule

15     that will be followed going forward.                        14:50:18

16          Q      How do you expect a Court to make that

17     decision without the type of precise and specific

18     definition you advocate for in your book?

19          A      Courts do that all the time.     I don't

20     think that that's a hindrance.                              14:50:38

21                 I know if we were having a case about a

22     chair, we would not have a precise legal definition

23     of a chair.    There would be chairs in the case.

24     There might be things that are stools and benches

25     that some people think are chairs and not, and the          14:50:54

                                                                   Page 125

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 59 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      Court would figure it out.                                     14:50:57

2                      To me, this is what courts do, so I don't

3      see this as a hindrance in general; that without a

4      precise legal definition, the Court throws up its

5      hands and says, "We can't do anything."          They figure   14:51:10

6      out stuff all the time.         And sometimes definitions

7      come out of case law.

8                      It doesn't feel like a problem in the same

9      way that a proscriptive regulation would be.

10             Q       Is there a legal definition of "dark           14:51:33

11     patterns" today?

12             A       I don't know.

13                     So the question I think you're asking is

14     that EU document have the force of law?          I don't

15     know.                                                          14:51:47

16                     Does the FTC document have the force of

17     law?        I don't know.

18                     There have been cases and -- and fines

19     that involved dark patterns.         So there is case law.

20     Some of it might have settled.         I don't know.           14:52:01

21                     So I know this stuff has made its way into

22     courts and legal documents, but to answer your

23     question, I don't know.

24             Q       What was wrong with the definition that

25     Senators Warner and Fischer introduced in 2019?                14:52:27

                                                                      Page 126

                                      Veritext Legal Solutions
                              Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 60 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1            A   I don't know in particular.      I don't have    14:52:33

2      anything wrong.

3                In the book, I make -- I'm ending -- I

4      think I'm ending the chapter on that.      I'm just

5      ending it to remind the reader that any set of rules       14:52:43

6      will be hacked and that defining your sets of rules

7      is important.

8                So what I'm saying in that book is really

9      a general statement.     I'm not talking about the

10     particular piece of legislation.                           14:52:59

11           Q   Do you have, in your mind, a ideal

12     proscriptive legal definition of "dark patterns"?

13           A   I have never been asked to produce one,

14     no.

15           Q   Can you think of one now?                        14:53:19

16           A   The lesson in my book is never do that

17     stuff off the top of your head live.      Always

18     consider it.    So no.

19           Q   And you've never considered it?

20           A   Not enough to -- to have a definition that       14:53:35

21     I think would be suitable.

22               It would be a fun problem to work on.

23           Q   Can whether something is a dark pattern be

24     empirically tested?

25           A   I don't know what you mean by that.              14:54:07

                                                                  Page 127

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 61 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                  It is not something you measure, like           14:54:08

2      height or weight.

3                  So what do you mean by "empirically

4      tested"?    You mean -- do you mean compared to a

5      standard?    Does that count?                               14:54:15

6             Q    I'm asking you whether there could be a

7      test to determine whether something is a dark

8      pattern.

9             A    Whether there could possibly be a test?

10     Yes.                                                        14:54:31

11            Q    Like what?

12                 MR. CROSBY:    Object to the form.

13                 THE WITNESS:    I don't know.

14     BY MS. AGNOLUCCI:

15            Q    Can you think of, as you sit here, any          14:54:43

16     appropriate test to determine whether something is a

17     dark pattern?

18            A    That is something I would like -- that is

19     something I would research before I answered.

20            Q    Let's talk about Google's alleged use of        14:55:12

21     dark patterns.

22                 Turning to page 80 of your report, section

23     9.4, you include a section titled "Google Uses Dark

24     Patterns," correct?

25            A    Yes.                                            14:55:31

                                                                   Page 128

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 62 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q    And in the first paragraph of this              14:55:37

2      section, you state (as read):    "As previously

3      defined in 6.3, dark patterns are user interface

4      designs that serve to manipulate users into making

5      choices that are contrary to their own interests."        14:55:49

6                Do you see --

7           A    Yes.

8           Q    -- that?

9           A    Yes.

10          Q    How did you choose which definition of          14:55:57

11     "dark patterns" to apply here?

12          A    I don't remember.

13          Q    You also state here, quote:     It is helpful

14     to consider the broader range of Google controls.

15               Are you referring to Google products and        14:56:17

16     services beyond WAA and sWAA here?

17          A    I am.

18          Q    What are you referring to?

19          A    I'm referring to the controls in the

20     following subsequent paragraphs, from 280 to the end      14:56:31

21     of the section.

22          Q    Did you -- were you asked to provide an

23     opinion on those other controls in this case?

24          A    I was not.

25          Q    And you told me earlier that paragraph          14:56:46

                                                                 Page 129

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 63 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      three of your report, which refers to WAA and sWAA,           14:56:51

2      encapsulates all of the controls you are opining on

3      in this matter, correct?

4           A     That is correct.

5           Q     So you did not look at the disclosures or          14:57:06

6      products at issue in paragraphs 280, 282, 283 to

7      -84, 289, 290, and 291?

8           A     That is correct.   I just summarize other

9      people's examinations.

10          Q     And those products and disclosures are not         14:57:30

11     part of your materials considered?

12          A     I read the documents that I referenced.        I

13     did not go further than that.

14          Q     In other words, you read the study by the

15     Norwegian Consumer Council, you read the authorities          14:57:48

16     cited in section 9.4, but nothing more?

17          A     Yes.

18          Q     Would you agree that none of the summaries

19     or observations or investigations in these two pages

20     of section 9.4 pertain to the WAA and sWAA settings?          14:58:19

21          A     At first glance, no, but they might, and

22     I'm not aware -- I'm not aware of that in this

23     reading.

24          Q     And, actually, I'm going to re-ask my

25     question because it's not limited to two pages;               14:59:00

                                                                     Page 130

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 64 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      rather, your statements about Google's general use              14:59:03

2      of dark patterns go from page 80 to 85 of your

3      report.

4                   Would you agree that the discussion at

5      pages 80 to 85 of your report does not pertain to               14:59:15

6      the sWAA and WAA settings at issue in this case?

7                   MR. CROSBY:    Object to the form of the

8      question.

9                   THE WITNESS:     The paragraphs are not about

10     the WAA and sWAA settings.        They are about the            14:59:28

11     company.

12     BY MS. AGNOLUCCI:

13          Q       In paragraph 250, you talk about "GDPR

14     popups."

15                  You didn't consider the actual popups              14:59:49

16     discussed, did you?

17                  MR. CROSBY:    Object to the form of the

18     question.

19                  THE WITNESS:     Where do you see the popups?

20     I'm in paragraph 250.                                           15:00:00

21                  MS. AGNOLUCCI:     I'm sorry.   I think I -- I

22     meant 280.

23                  THE WITNESS:     Okay.   I see -- I see the

24     word "popup."

25                  No, the -- the -- I don't -- I'm sorry.        I   15:00:31

                                                                       Page 131

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 65 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      don't know what Google's GDPR popup says.        So I       15:00:36

2      don't know if they mention WAA or sWAA.

3      BY MS. AGNOLUCCI:

4           Q       You didn't look at the GDPR popup or

5      include it in your materials considered, correct?           15:00:47

6           A       I did not.

7           Q       And paragraph 284 discusses a Norwegian

8      Consumer Council study that appears to relate to

9      Chrome.

10                  Is whether Chrome is a dark pattern part       15:01:12

11     of your opinion in this case?

12                  MR. CROSBY:    Object to the form of the

13     question.

14                  THE WITNESS:    It's part of my report, and

15     this section is included to demonstrate that                15:01:23

16     Google's use of dark patterns in this case is not

17     anomalous.     I do not know if that means it is part

18     of my opinion or not.

19     BY MS. AGNOLUCCI:

20          Q       Did you look at the links that the privacy     15:01:39

21     dashboard testers navigated through in the Norwegian

22     Consumer Council matter?

23          A       I did not.

24          Q       For paragraph 281, you talk about ad

25     personalization settings.                                   15:02:03

                                                                   Page 132

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 66 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1                Did you look at the ad personalization          15:02:06

2      settings that were at issue in the Norwegian

3      investigation?

4           A    I did not.

5           Q    In other words, the examples we've been         15:02:16

6      discussing in section 9.4 are examples about others'

7      conclusions and opinions about certain Google

8      settings and disclosures, correct?

9           A    Yes.   I'm summarizing other organizations'

10     conclusions about Google and dark patterns.               15:02:38

11          Q    The Norwegian Consumer Council performed a

12     series of tests to reach its conclusions, correct?

13          A    I believe that is correct.

14               I think I say that somewhere, don't I?

15          Q    Yes.                                            15:03:06

16          A    Can you tell me where, so I can see it?

17               Yeah, okay.   I see it in paragraph 281.

18     Testers have to navigate.

19               So, in part, yes, Norwegian Consumer

20     Council did tests.                                        15:03:17

21          Q    You did not conduct any such user tests

22     for your analysis of WAA and sWAA, correct?

23          A    I did not.

24          Q    In fact, you didn't conduct any empirical

25     testing to determine how users received the sWAA and      15:03:36

                                                                 Page 133

                                 Veritext Legal Solutions
                         Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 67 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      WAA settings, correct?                                     15:03:39

2            A     That is correct.   I did not opine on any

3      users in particular.

4            Q     Or in general?

5            A     Or in general.                                 15:03:50

6            Q     Paragraphs 173 to -74 of your report talk

7      about an FTC report on dark patterns, which

8      described deceptive design elements in e-commerce

9      interfaces.

10                 Do you see that?                               15:04:16

11           A     Yes.

12           Q     And in paragraph 174, you list a number of

13     examples about consumer harms caused by a

14     rent-to-own payment plan company and online lending

15     corporation, a credit monitoring company, and a tax        15:04:33

16     filing service lying to people about prices or terms

17     of a paid deal, correct?

18           A     Yes.

19           Q     None of these examples are about WAA and

20     sWAA settings, correct?                                    15:04:50

21           A     Yes, that's correct.

22           Q     And they're not about Google Analytics for

23     Firebase?

24           A     That's what I was checking.    I don't think

25     so.                                                        15:05:07

                                                                  Page 134

                                  Veritext Legal Solutions
                          Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 68 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1           Q    And they're not about any alleged harm to         15:05:09

2      users of WAA, sWAA, or Google Analytics?

3           A    So that -- so I wondered about your

4      phrasing, because, almost certainly, many of the

5      users who were harmed by these are using some site          15:05:25

6      that uses WAA or sWAA.     So they are users of WAA and

7      sWAA because, as we determined a couple of hours

8      ago, you can't avoid using it.      So those humans were

9      using WAA and sWAA, but not in conjunction with

10     these actions, or maybe in conjunction with these           15:05:47

11     actions, not in conjunction with the -- with what

12     the FTC was complaining about.

13          Q    I want to direct you to paragraphs 161 to

14     166, where we're talking about Brignull's definition

15     and categories of "dark patterns."                          15:06:13

16          A    Mm-hmm.

17          Q    Brignull refers to human behavior in his

18     definition of "dark patterns."

19               Do you agree with that?

20          A    Can you tell me where?                            15:06:37

21          Q    I can search for it.      I just saw it.

22               At the top of page 46.      So --

23          A    I wasn't even there.      I see it.    Yes.

24          Q    -- "Colin Gray has extended the" --

25               Okay.     So part of his definition is            15:07:12

                                                                   Page 135

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 69 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      "instances where designers use their knowledge of           15:07:14

2      human behavior."

3                  Do you see that?

4           A      Well, that's Colin Gray's quote, but I do

5      see it.                                                     15:07:23

6           Q      And it's part of your definition, you

7      said, of "dark patterns," correct?

8                  MR. CROSBY:    Object to the form of the

9      question.

10                 THE WITNESS:    Yeah, it's part of the          15:07:29

11     section where I discuss what dark patterns are.

12     BY MS. AGNOLUCCI:

13          Q      What human behaviors are referred to here?

14          A      I think it's a collection of human

15     behaviors: checking a box, clicking on a thing,             15:07:47

16     buying a thing, moving a slider, doing something

17     with -- with an interface.

18          Q      Okay.   You also said that you've taught in

19     the area of dark patterns.

20                 When you're teaching, how do you teach          15:08:11

21     your students to recognize a dark pattern?

22          A      It's similar to what I did in this report.

23     I put up different taxonomies, and then I put up

24     examples.

25          Q      And then they are to use their judgment to      15:08:33

                                                                   Page 136

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
     Case 3:20-cv-04688-RS Document 472-3 Filed 04/03/25 Page 70 of 70
                       ATTORNEYS' EYES ONLY - CONFIDENTIAL

1      determine whether an example fits into a taxonomy?          15:08:36

2            A     Yeah, I'm not teaching people to go out

3      and be, you know, dark pattern police officers, but,

4      yes, I mean, I'm trying to teach them to recognize

5      them when they see them.                                    15:08:53

6            Q     They'll know it when they see it, I take

7      it?

8                  MR. CROSBY:    Object to the form of the

9      question.

10                 THE WITNESS:    You know, I'm okay with --      15:09:01

11     with a fuzzy definition in a class, right.        There

12     are -- I mean, I'm teaching in cybersecurity.

13     It's -- so many things are fuzzy.       There are things

14     that are obviously dark patterns; there are things

15     that are obviously not.      There are edge cases that      15:09:14

16     are -- that are worth discussing.

17                 I mean, these people are going into a

18     variety of policy roles in their career, and I want

19     them to be familiar with the term and the tactics

20     and the current policy discussions around it.               15:09:33

21     That's really the point of my class.

22     BY MS. AGNOLUCCI:

23           Q     Let's go back to paragraph 279, where you

24     include your definition of "dark patterns."

25                 Do you believe that WAA and sWAA are user       15:09:54

                                                                   Page 137

                                   Veritext Legal Solutions
                           Calendar-CA@veritext.com 866-299-5127
